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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    No. 25-cr-17-AHA
                                    :
v.                                  :
                                    :
ANDRE MAURICE BONNEAU,               :
                                     :
            Defendant.               :
____________________________________:

   DEFENDANT’S RESPONSE TO THE GOVERNMENT’S MOTION TO DISMISS

       Defendant, Andre Bonneau, through his undersigned counsel, hereby notifies the Court

that Mr. Bonneau consents to the Government’s pending motion to dismiss.

Dated: January 22, 2025                   Respectfully submitted,

                                          SILVERMAN|THOMPSON|SLUTKIN|WHITE, LLC

                                          /s/ Christopher Macchiaroli
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